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                                                                               SEP I 9 6 ^
                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                                     |  CLLHK. U.S. District court
                               Richmond Division                    '          Richmond, va


MICHAEL L. BROOKS,


     Plaintiff,

V.                                                   Civil Action No. 3:18CV496


WALMART DEPT. STORE,

     Defendant.


                              MEMORANDUM OPINION


     By Memorandum         Order    entered    on   July 25,      2018,    the    Court

conditionally      docketed    the    action.        At   that    time,    the    Court

directed   Michael L. Brooks to affirm his intention to pay the

full filing fee by signing and returning a consent to collection

of fees form.       The Court warned Brooks that a failure to comply

with the above directive within thirty (30) days of the date of

entry thereof would result in summary dismissal of the action.

     On    July     31,     2018,    the    Court      received     a     consent     to

collection    of    fees     form    from     Brooks      that    was   not    signed.

Accordingly, by Memorandum Order entered on August 10, 2018, the

Court directed Brooks to read, sign, and return to the Court the

enclosed consent to collection of fees form within fourteen (14)

days of the date of entry thereof.

     Brooks   has     not    complied       with    the   order    of   this     Court.

Brooks failed to return a signed consent to collection of fees

form.     As a result, he does not qualify for                      forma pauperis
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status.     Furthermore, he has not paid the statutory filing fee

for the instant action.        See 28 U.S.C. § 1914(a).            Such conduct

demonstrates a willful failure to prosecute.                 See Fed. R. Civ.

P. 41(b).     Accordingly, this action will be dismissed without

prejudice.

     The    Clerk   is   directed   to   send   a   copy   of    the   Memorandum

Opinion to Brooks.




                                                           /s/         aip
                                    Robert E. Payne
                                    Senior United States District Judge

Date:
Richmond, Virginia
